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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF VERMONT

 

UNITED STATES OF AMERICA )
)
V. )
) Crim. No.: ai osrer a=
TYBERIUS MITCHELL, )
Defendant. )
INDICTMENT
The Grand Jury charges:
COUNT 1

On or about October 16, 2019, in the District of Vermont, defendant TYBERIUS
MITCHELL knowingly and intentionally distributed cocaine base, a Schedule II controlled

substance.

(21 U.S.C. §§ 841(a)(1), (b)(1)(C))

A TRUE BILL

FOREPERSON

Jie EZ Adda

CHRISTINA E. NOLAN (WLF)
United States Attorney

Rutland, Vermont

January 15, 2020
